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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,
                                          NO. 4:12-cr-00124-REL-CFB
             Plaintiff,

   vs.

SERGIO JUAREZ,

             Defendant.

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
    (FED. R. CRIM. P. 11(e) (1) (C) PLEA AGREEMENT)
             The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge, appeared before me pursuant to Fed. R.              Crim.

P. 11 and LCrR 11.        The defendant entered a plea of guilty to a

lesser included offense of Count 1 of a Superseding Indictment.

Count 1 charges conspiracy to distribute 500 grams or more of a

mixture and substance containing methamphetamine in violation of 21

U.S.C.   §   846 and 841 (b) (1) (A).   Defendant pleaded guilty to the

lesser charge of conspiracy to distribute 50 grams or more of a

mixture and substance containing methamphetamine,         or 5 grams or

more of actual methamphetamine,         in violation of 21 U.S.C.   §    846,

841(b) (1) (B).   After advising and questioning the defendant under

oath concerning each of the subjects addressed in Rule 11(b) (1), I

determined that the guilty plea was in its entirety voluntarily,

knowingly and intelligently made and did not result from force,

threats, or promises (other than promises in the plea agreement) .

I further determined that there is a factual basis for the guilty
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plea    on   each    of   the   essential       elements   of   the    offense (s)    In

question.        A plea agreement was disclosed at the plea proceeding

and defendant stated he understood its terms and agreed to be bound

by them.     To the extent the plea agreement is of the type specified

in Rule 11 (c) (1) (A) or (C) defendant was advised the district judge

to whom the case is assigned may accept the plea agreement, reject

it,    or defer a decision whether to accept or reject it until the

judge     has     reviewed      the   presentence      report     as    provided      by

Rule 11 (c) (3) (A) . Defendant was advised he may withdraw his plea of

guilty only should the Court reject the plea agreement.

                Subject to the Court's acceptance of the plea agreement,

I   recommend      that   the   plea of   guilty     be    accepted and     that     the

defendant be adjudged guilty and have sentence imposed accordingly.

A presentence report has been ordered and sentencing proceedings

scheduled.




                                        NOTICE

            Failure by a party to file written objections to this
Report and Recommendation within fourteen (14) days from the date
of its service will result in waiver by that party of the right to
make obj ections to the Report and Recommendation.         28 u. S. C.
§ 636(b) (1) (B).  The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

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